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                                                                                Megan A. Siddall

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By Electronic Mail and ECF


September 12, 2019

Kristina Barclay, Esq.
United States Attorney’s Office
District of Massachusetts
One Courthouse Way
Boston, MA 02210

       Re: United States v. DeCicco, 18-cr-10013-RGS

Dear Kristina:

       On behalf of Defendant Gary DeCicco, I write in response to your letter of August 30,
2019. In accordance with our meet and confer obligations under Local Rule 116.3(f), Mr.
DeCicco requests additional information in order to eliminate or narrow the issues for a possible
motion to compel discovery.

Request No. 12

        The government asserts that it has produced all relevant phone records from Mr.
DeCicco’s personal, home, and work telephones in its possession, custody, or control. The
government has produced only a limited set of Mr. DeCicco’s phone records, and the production
does not include the majority of the period of the charged conduct, which covered April 2012
through December 2017. Mr. DeCicco’s phone records are material to the defense on a number
of issues, including but not limited to Mr. DeCicco’s direct communications with Nationstar
Mortgage (if any), the nature of Mr. DeCicco’s relationship with his co-defendant Pamela
Avedisian, and Mr. DeCicco’s efforts to seek legal advice (if any) regarding the conduct alleged
in the First Superseding Indictment. Please produce the requested materials, or confirm that the
government has produced all phone records from Mr. DeCicco’s personal, home, and work
telephones in its possession, custody, or control.

Request No. 13

        Mr. DeCicco requests calls logs of all communications intercepted pursuant to the
Court’s order of June 24, 2013 in order to evaluate whether those calls are material to preparing
the defense, including whether some of the content of those calls may be exculpatory. Please
confirm that the Government will produce all documents responsive to the request.




    Miner Orkand Siddall LLP | 470 Atlantic Avenue, 4th Floor, Boston, MA 02210 | www.mosllp.com
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Request Nos. 14, 17-19

          The Government objects to these requests with a boilerplate assertion that the requests
“call[ ] for the production of information which is not relevant to this case.” Please describe the
categories of documents the Government is withholding that are responsive to these requests so
we may evaluate whether to seek an order to compel.

Request No. 7, 19

        Please confirm that you have reviewed all documents or testimony responsive to Request
Nos. 7 and 19 to identify any potentially exculpatory information. Additionally, please confirm
that the Government has produced all documents or testimony responsive to Request Nos. 7 and
19 which contain exculpatory information in accordance with Brady v. Maryland, 373 U.S. 83
(1963) and Local Rule 116.2.

Request Nos. 22-25, 27-29

        The Government asserts that it has complied with its obligations under the Local Rules.
Please describe the categories of documents the Government is withholding that are responsive
to these requests so we may evaluate whether to seek an order to compel.

          Please let me know if you have any questions, and thank you for your attention to this
matter.


                                                              Very truly yours,




                                                              Megan A. Siddall
